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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                          ENTERED
                        IN THE UNITED STATES DISTRICT COURT                           October 27, 2017
                        FOR THE SOUTHERN DISTRICT OF TEXAS                           David J. Bradley, Clerk
                               BROWNSVILLE DIVISION

MARY M ZAPATA, et al,                           §
                                                §
        Plaintiffs,                             §
VS.                                             §   CIVIL ACTION NO. 1:16-CV-30
                                                §
HSBC HOLDINGS PLC, et al,                       §
                                                §
        Defendants.                             §

        ORDER DISMISSING PLAINTIFFS’ CLAIMS WITHOUT PREJUDICE

       Pursuant to Plaintiffs’ voluntary dismissal of their claims under Federal Rule of Civil

Procedure 41(a)(1)(A)(i) [Doc. No. 74], the case is hereby dismissed without prejudice.


       Signed this 27th day of October, 2017.




                                                ___________________________________
                                                          Andrew S. Hanen
                                                      United States District Judge




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